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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

LARRY LOVETT,

Defendant.                                                No. 07-30099-DRH

                           MEMORANDUM and ORDER

HERNDON, Chief Judge:

              Pending before the Court is Lovett’s September 8, 2009 motion for nunc

pro tunc extension of time in which to file notice of appeal (Doc. 180).        The

Government filed its response (Doc. 184). Based on the following, the Court denies

the motion.

              On March 17, 2008, the grand jury returned a superseding indictment

against Lovett and others containing charges of conspiracy and distribution of crack

cocaine (Doc. 4).    A year later, Lovett entered into a plea agreement with the

Government and plead guilty to the charges contained in the superseding indictment

(Docs. 99 & 100). Thereafter on June 18, 2009, the Court sentenced Lovett to 276

months on counts 1, 5, 6, & 7 of the superseding indictment and the Clerk of the

Court entered judgment reflecting the same (Docs. 139 & 141).

              On July 15, 2009, Lovett, pro se, filed a notice of appeal, motion for

leave to appeal in forma pauperis and a motion to appoint counsel (Docs. 158, 159


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& 161). The next day, the Court entered an Order denying as moot Lovett’s motion

for leave to appeal in forma pauperis and denying his motion to appoint counsel

(Doc. 165). On July 29, 2009, Lovett filed a motion for extension of time to file 28

U.S.C. 2255 petition (Doc. 170) which the Court dismissed for want of jurisdiction

(Doc. 171).

               Now, Lovett moves the Court to allow his notice of appeal filed on July

15, 2009 to be deemed timely filed. Lovett argues he can show good cause and

excusable neglect as he is not trained in the law; that his lawyer abandoned him and

that he did not have adequate access to legal materials because of his repeated

transfers. The Government opposes the motion. Specifically, the Government states

Lovett’s motion is untimely; that his counsel did not abandon him - that his trial

attorney responded to the Seventh Circuit Court of Appeals’ July 20, 2009 Order

regarding jurisdiction1; and that Lovett knowingly and voluntarily waived his appeal

rights.

               Federal Rule of Appellate Procedure 4(a)(5)(A) allows a court to briefly

extend the time to file a notice of appeal if the party seeking to appeal requests the

extension within thirty days after the original time period has expired and if the party

shows (1) good cause if the motion is filed before the original time period expires, or

(2) excusable neglect if the motion is filed later. Prizevoits v. Indiana Bell Tel. Co.,

76 F.3d 132, 133 (7th Cir. 1996). If both of these requirements are met, the Court


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         In response to the Seventh Circuit’s Order, Lovett’s trial counsel indicated that Lovett did
not notify or consult with him about filing a notice of appeal.

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may extend the time to appeal for a period not to exceed either thirty days after the

prescribed appeals period or ten days after the Court grants the motion for extension

of time. Fed.R.App.P. 4(a)(5)(C).

             Here, Lovett does not meet the first requirement. The Clerk of the Court

entered judgment on June 18, 2009. Thus, Lovett had until July 2, 2009 to file a

notice of appeal. He did not file filed his notice of appeal until July 15, 2009 (Doc.

158). However, Rule 4(a)(5)(A)(i) provides thirty more days, up to August 3, 2009,

to make a motion for extension of time under the rule. Lovett’s motion for extension

of time was not filed until September 2009. Clearly, Lovett’s motion for extension

of time is untimely. Consequently, the Court need not address whether Lovett has

shown excusable neglect or good cause.

             Accordingly, the Court DENIES Lovett’s motion for nunc pro tunc

extension of time to in which to file notice of appeal (Doc. 180).

             IT IS SO ORDERED.

             Signed this 2nd day of October, 2009.



                                                    /s/   DavidRHer|do|
                                                    Chief Judge
                                                    United States District Court




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